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IN Tl'lE ClRCU lT COURT OF 'l`l IE FOURTI-l JUDICIAL CIRCUI'I`
lN /\Nl) l"OR l)UVAL COUNTY, FI_.ORIDA

Eric A. Brown, individually and derivativei)' on
behalf cl`Mctrics .!\/Iedicus, Incorporatcd, a
Florida corporation,

Ptaimirrs, 5 '. \3 - c:v- too z - 3'-| J`E. \<
CaSC NO-¢ 16-2946-6#-5245
V.

Division:
l)amela Andreatta,
lJel"endant,

\t'.

I\»letrics t\‘ledicus, lncorporatcd, a l~`loritla
corporal ion.

Nominal Defentlant

 

 

VERIFIED COMPLAINT
I’laintif"r`, Eric A. Brown, individually and derivatively on behalf ol` Mett'ics l'vleclicus,
lacorporatcd (“Metrics"), Sues Dctenclant l’amela Andreatta as l`ollowsz
P.»\RTIES, JURISDICTION, _AND VENUE
l. Plaintit.’t`Eric A. Brown isa South Carolina citizen and resident.
2. Dct`cnclant l’ameia Andreatta is a l""loric|a citizen and residentl
3. Dc[endant l\»'letrics Mcdictls, lncoi'poratcd is a l"`lorida corporation with its
principal place ol`l)usiness in l)uval (_`ottnty, l"lot'ida.
4. 'l`lte amount in controversy exceeds $i§,()()(), exclusive of` prejudgment interest

and costs. Etlt:ilaltle remedies are also Sotlght.

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5. Venue is proper in this Court because Andreatta is a resident of Duval County and

Metrics’ principal place of business is in Duval County.
GENERAL ALLEGA'I`IONS
History and Agrecmcnt

6. ln 2012, Brown began working with Andreatta and her former spouse, Sebastian
Andreatta, regarding a collaboration on an application designed to assist medical providers

7. ’l`he parties continued _to work together over the years without a formal agreement
regarding ownership or equity positions. However, both Brown and Andrcatta made valuable
contributions, including ideas, expertise, and labor to the venture.

8. ln 2013, a California corporation was created called Metrics Medicus (“Ca|ifomia
Metrics"). The parties continued to collaborate and work together on various projects under the
umbrella of Calit`ornia Metrics. California Metrics never issued any shares.

9. Also in 2013, Brown began serving as the Chief Medical Ofiiccr of Califomia
Metrics.

10. In mid-2015, Sebastian Andreatta declared his intent to leave the corporation, and
Brown took over management of the existing business relationships, business accounts, and other
management tasks of Calii`omia Metrics, including securing and maintaining insurance for the
corporation

ll. By late 2015, Sebastian and another minor contributor, Mark Smith, had officially
left California Metrics and the joint venturc.

12. At this time, Andrcatta and Brown began negotiations regarding how to move
forward. Andrcatta proposed that Andreatta and Brown continue their business venture as equal

partners and owners.

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13. 'l`o achieve this purpose, Andreatta proposed that she be reimbursed for certain
monetary contributions made to Calit`ornia lvletrics to equalize the contributions made by
Andreatta and Brown.

14. 'l`he proposal contemplated dissolving Calit`omia Metrics and merging the joint
venture and equal partnership with Brown and Andreatta into a new company that would be
incorporated in Floricla where Andreatta had recently moved.

15. Andreatta proposed that Andreatta and Brown would be 50/50 partners in this
corporation.

16. Specitically, in an entail dated September 3, 2015, Andreatta wrote that “we
discussed and agreed that we would [mal<e certain reimbursements] . . . to assure we have
equivalence moving into the new year and within our new corporate structure.” Additionally,
Andrea wrote that “this will allow us to go into our first year . . . as equal partners.” A true and
correct copy of this email is attached as F,xhibit A.

l7. Brown accepted these terms, and the agreed upon distributions were made to
Andreatta at the end of 201 5.

18. As ot` 2016, Andreatta and Brown were engaged in a joint venture to develop and
monetize the various medical applications they had been working on together for years.

19. Consistent with the agreement that Andreatta and Brown would be “equal
partners,” Andreatta and Brown agreed to exercise joint control over the enterprise and its assets,
and each owned an equal interest in the property and subject matter of the venture. Andreatta and

Brown had an equal right to share in the profits and any losses resulting from the venture.

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20. On May 16, 2016, Brown and Andreatta incorporated the Florida corporation,
Metrics Medicus, Inc. Brown served as the Incorporator. The Articles of Incorporation are
attached hereto as Exhibit B.

2l. Brown and Andreatta transferred all assets and property of their joint venture to
Metrics.

22. With the consent oi` all relevant parties, California Metrics was dissolved

The incorporation of Metrics

23. In the Artieles of Incorporation of Metrics, Andreatta was appointed as the Chief
lnformation Officer and a Director of Metrics. Brown was appointed as the Chief Medical
Ofticer and a Director of Metrics. Brown was the sole Incorporator and Andreatta was named as
Metrics’ Registered Agent.

24. To start Metrics, Andreatta and Brown transferred assets and property from their
joint Venture to Metrics.

25. Consistent with their agreement, Brown and Andreatta were and are equal owners
of Metrics, and they exercised equal control as 50/50 owners and 50/50 directors of Metrics.

26. l~Iowever, no shares were ever formally issued in Metrics and no shareholder
agreement was executed.

27. Both Andreatta and Brown continued to contribute their time, expertise, skill, and
labor to Metrics.

28. ln addition, both Andreatta and Brown made additional monetary contributions in
the form of $20,000 each.

29. Ncither Andreatta nor Brown ever received distributions from Metrics.

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The Intcllectual Property

30. As of August, 2016, Brown began serving in the additional role of CEO of Metrics
at the request of Andreatta.

31. As part of his role as CEO, Brown was to manage the acquisition of formal patent
rights for Metrics’ intellectual property.

32. Andreatta and Brown, through their joint venture and as part of Metrics, had
developed and invented a product (the “CareAssess Product”) which consisted of (l) the
CareAssess platform and (2) various data iiles, called “assessment instruments” that would be
used on the platform.

33. The CareAssess Product is designed to allow medical providers to conduct
objective real-time quality assessments of different medical procedures

34. The CareAssess platform consists of a smart phone application connected to a
back»end web portal and database platt`orm.

35. The assessment instruments are data files describing the various steps and
standard ofcare for certain medical proceduresl

36. The CareAssess platform database hosts a library of the assessment instruments
for use in the application

37. This combined CareAssess Product allowed healthcare providers to download
assessment instruments to the CareAssess application on their phone. The providers then used
the application to conduct objective quality assessments of medical procedures in real time.

38. 'l`he variety and completeness of the assessment instruments available for use on

the CareAssess platform is essential to the marketability of the entire CareAssess Product.

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39. ln 2017 and early 2018, Andreatta worked on entering the assessment instruments
into the CareAssess platform, while Brown and two contract employees of Metrics worked on
other aspects of the CareAssess Product, including de-bugging the application and supporting
demonstrations to potential customers

40. Brown was also tasked with managing the marketing and sales strategy aspects of
Metrics, including marketing and sales related to the CareAssess Product. In that role, Brown
conducted a number of significant demonstrations to hospitals, individuals in the graduate
education and nursing education space, and other interested companies

41. Brown, with the consent of Andreatta, also retained DLA Piper to apply for a
patent for Metrics for the CareAssess Product.

42. As part of the patent application process, Andreatta and Brown each assigned any
individual rights they had over the CareAssess platform to Metrics. A true and correct copy of
this assignment is attached as Exhibit C.

43. 'l`he final patent application was submitted on October 2, 2017.

44. The patent was initially rejected, but Metrics received a Notice of Allowance on
May 8, 2018, and Patent No. 10,026,052 was issued on July 17, 2018 (the “Patent”). A copy of
the Patent is attached as Exhibit D.

45. The CareAssess I‘roduct, including the l’atent, is Metrics’ most valuable asset.

Andreatta’s Unauthorizcd Actions

46. On May 8, 2018, Metrics received notification that the full patent application was

acceptcd. At this point, Metrics had 90 days to submit a dependent patent application for the

library of assessment instruments

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47. This had always been the plan for the patent for the CareAssess Product and
Andreatta had agreed to this on multiple occasions.

48. However, once the notice was received, Andreatta refused to submit the dependent
patent application and instead claimed she individually owned the assessment instruments
entered into the Metrics CareAssess platform. This prevented Metrics from properly completing
its patent over the CareAssess Product.

49. 'l`hen, starting in mid-May, Andreatta began taking actions without the consent or
consultation of Brown in violation of the formal corporate structure, as well as the 50/50
equitable ownership agreement.

50. Andreatta began deleting and removing mass amounts of tiles and documents
from the Metrics Dropbox, which contains the corporation’s official records and proprietary
documents.

51. Andreatta also altered the Metrics wel)site to redirect all sales inquiries, which
formerly went to Brown, to a contractor for Metrics that has assisted Andreatta with her
conversion of Metrics’ assets.

52. During this time, Andreatta expressed her desire to “dissolve the partnership,” but
Brown never agreed to any of Andreatta’s proposals Andreatta never called a meeting of the
board of directors or shareholders of Metrics and never prepared a proper written consent for
cxecution.

53. Brown never voted for or provided his written consent to any proposal for
dissolving Metrics. lnstead, Brown agreed to discuss the issue, and asked Andreatta to stop

making unilateral operational dccisions.

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54. In response, Andreatta chose to proceed without authorization and continued
unlawfully transferring the assets belonging to Metrics to herself

55. On luly 10, 2018, Andreatta set up a new limited liability company called Metrics
l-iealthcare, LLC.

56. On July 13, 2018, without the consent or knowledge of Brown, Andreatta
executed an assignment of the Patent from Metrics to herself, individually. Andreatta submitted
the unauthorized assignment of the Patent to the U.S. Patent Of tice that same day. A copy of this
unauthorized assignment is attached hereto as Exhibit E.

57. Andreatta also removed Brown’s access to the back end web functions for the
Metrics website and the CareAssess platform. Andreatta also changed the passwords for several
demo accounts belonging to Metrics,

58. Andreatta also deleted the entire assessment instrument library. Without the
associated assessment instruments, the CareAssess platform is unusable, making it impossible to
conduct any sales demonstrations or actually sell Metries’ most valuable product.

59. On July 27, 2018, Brown demanded that Andreatta cease her unauthorized
activities and return the property of Metrics.

60. Andreatta failed to do so, and instead completed her looting of Metrics and then
proceeded to attempt to complete an unauthorized dissolution of Metrics by draining the Metrics
Wells Fargo corporate account and filing dissolution paperwork with the Florida Secretary of
State.

61. Andreatta never proposed a plan of dissolution to Brown, and has not provided
Brown with the documentation she provided to the Florida Secretary of State to purportedly

dissolve Metrics. Brown docs not know what misrepresentations Andreatta made to support her

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authority for dissolving the corporation in the Artie|es of Dissolution provided to the Florida
Secretary of State.

62. Metrics continues to have outstanding obligations to third parties and active
contracts and business relationships that are now in jeopardy due to Andreatta’s unauthorized
actions.

63. On August l, 2018, Brown against made clear to Andreatta that he did not agree
to dissolve Metrics and again demanded that she return the assets she removed from Metrics.

64. Specifically, Brown demanded that Andreatta join him in taking the actions
necessary to remedy the unauthorized transfer of corporate assets and the unauthorized filing of
articles of dissolution.

65. Brown also demanded that Andreatta join him in calling a meeting of the board or
directors and/or execute a written consent to formally issue equal shares in Metrics to Brown and
Andreatta.

66. Andreatta affirmatively refused these demands, leaving Brown with no option
other than filing suit to protect his own rights as a 50% owner of Metrics, and to protect Metrics
from A.udreatta’s unauthorized attempts to loot and then dissolve thc corporation.

67. i-`urthcr demands would be impractical, unreasonab|e, and futile because Andreatta
is the party who has acted improperly in relation to Metrics and cannot reasonably be expected to
authorize the filing of an action against herself.

COUNT I - DECLARATORY JUDGMENT
Brown v. Andreatta

68. Brown incorporates by reference his allegations in paragraphs 1-67 as set forth

herein.

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69. This is an action by Brown against Andreatta for declaratory relief pursuant to
Chapter 86, Florida Statutes.

70. Brown is a 50% equitable owner of Metrics and is entitled to an issuance of 50%
of the shares of stock of Metrics.

71. Andreatta, as Director of Metrics, has failed to issue the stock to Brown, and
Andreatta has disputed Brown’s entitlement to 50% of the stock of Metrics.

72. Given this dispute, there exists a present controversy as to the ownership of
Metrics, Brown’s status as a 50% shareholder ot` Metrics, and Brown’s entitlement to 50% of the
shares of stock of Metrics.

73. Andreatta has refused to recognize Brown’s ownership rights, has declared that
she personally owns the assets of Metrics, and has converted those assets from the corporation
without the knowledge or consent of Brown.

74. There exists a bona lide, actual, and present need to resolve the controversy.

75. The powers, privileges, and rights of the parties are dependent upon the facts
presented, and the law applicable to the facts.

76. 'I`he parties to this declaratory action have an actual, present, adverse, and
antagonistic interest in the subject matter of this declaratory action in fact and in law.

77. Unless the Court grants the declaratory and supplementary relief sought herein,
Brown will suffer harm, in addition to the harm that Brown has already suffered due to the
deprivation of his rights.

WHEREFORE, Brown demands judgment as follows: (l) entry of a judgment declaring
(a) that Brown owns 50% of the stock of Metric, (b) that Andreatta’s transfer of Metrics‘

property to herself and her dissolution of Metrics was unauthorized; (2) entry of an injunction

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requiring Andreatta to (a) take all necessary actions to fomially recognize Brown’s 50%
ownership stake in Metrics (h) transfer all assets taken from Metrics by Andreatta, including the
Patent, back to Metrics, and (c) take all necessary actions to return the CareAssess Product
content and access to its original state; (3) damages, together with interest and costs, and (4) any
such further relief as the Court deems just and proper.

C()UNT ll - BREACH OF FIDUCIARY DUTY
Brown v. Andreatta

78. Brown incorporates by reference his allegations in paragraphs l-67 as set forth
herein.

79. This is an action by Brown against Andreatta for breach of fiduciary duty, seeking
damages in an amount exceeding $15,000.00, exclusive of interest, costs, and attomeys’ fees, as
well as injunctive and equitable relief.

80. As parties to a joint venture and business partners, Andreatta owed and continues
to owe a fiduciary duty to Brown.

81. Andreatta breached her fiduciary duty to Brown by, among other things, refusing
to recognize Brown’s 50% ownership ofMetrics, refusing to issue 50% of the shares of stock of
Metrics to Brown, and misappropriating and converting Metrics’ assets and property.

82. As a direct and proximate result of Andreatta’s breach of her fiduciary duty,
Brown lias suffered damagesl

WHEREFORE, Brown demands (l) an injunction requiring Andreatta to (a) take all
necessary actions to formally recognize Brown's 50% ownership stake in Metrics (b) transfer all
assets taken front Metrics by Andreatta, including the Patent, back to Metrics, and (c) take all

necessary actions to return the CareAssess Product content and access to its original state; (2)

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judgment in his favor and against Andreatta for damages, together with interest and costs, and
(3) any such further relief as the Court deemsjust and proper.

CQI_JNT IIl - TEMPORARY AND PERMANENT INJUNCTION
Brown, individually and derivatively on behalf of Metrics v. Andreatta

83. Brown incorporates by reference his allegations iri paragraphs 1-67 as set forth
herein.

84. This is an action by Brown individually and derivatively on behalf of Metrics
pursuant to Fla. Stat. § 607.07401, against Andreatta for temporary and permanent injunctive
relief within the equity jurisdiction of this court.

85. Brown owns 50% of the shares of Metrics.

86. Andreatta has improperly and unlawful misappropriated and converted the assets
of Metrics to her own benefit and deleted and removed critical aspects of technology belonging
to Metrics.

87. Andreatta has misrepresented her rights, ownership, and authority in relation to
Metrics and Brown and has used those misrepresentations to steal the assets of Metrics.

88. Andreatta has also stolen Metrics’ corporate documents and improperly blocked
access to Meti'ics’ corporate accounts, docuinents, and property by the other shareholder, officer
and director of Metrics - Brown.

89. Because Brown is one of two directors of Metrics and a 50% owner, his approval
is necessary to dissolve Metrics. Since this approval was not given, Andreatta submitted
inaccurate and potentially fraudulent documents on behalf of Metrics to the Florida Secretary of

State.

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90. Andreatta’s actions are conflicted and amount to improper self-dealing and a
serious breach of her fiduciaiy duties to Metrics.

9l. The above are only some of the examples of the waste, mismanageinent, and
unauthorized and illegal activities conducted by Andreatta, all of which have resulted iri direct
substantial economic detriment to Metrics (and to Brown as a 50% owner of Metrics).

92. Andreatta should be temporarily and pemianently enjoined from actively
participating in any of the management or operations cf Metrics.

93. The continued involvement by Andreatta will be detrimental to Metrics and to
Brown, individually. The company can be managed and operated effectively through Brown,
who is an officer, director, and co-owner of Metrics.

94. Affirniative injunctive relief should also be ordered as necessary to require
Andreatta to return all docunients, propcity, and assets of Metrics, including by revoking the
assignment of the Patent, returning the CareAssess platform content and access to its original
state, and revoking the purported dissolution of Metrics.

95. Unless injunctive relief is granted, Brown and Metrics will suffer irreparable
injury for which there is no adequate remedy at law.

96. Brown has the clear legal right to the relief requested

97. The public interest would not be disserved by the entry of the injunction.

98. Brown has a substantial likelihood of'suceess on the inerits.

WHEREFORE, Brown, individually and derivatively on behalf of Metrics, requests that
this court enter an injunction removing Andreatta as an officer and director of Metrics,
preventing Andreatta from having further involvement in the management of Metrics, ordering

the return of all assets and property transferred from Metrics to Andreatta, ordering the return of

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the CareAssess Product content and access to its original state, and revoking the improper
dissolution of Metrics, an award of attorneys’ fees pursuant to Fla. Stat. § 607.0740] , as well as
any such further relief as the Court deemsjust and proper.

COUN'I` lV - BREACH OF FIDUCIARY DUTY
Brown, derivatively on behalf of Metrics v. Andreatta

99. Brown incorporates by reference his allegations in paragraphs l-67 as set forth
herein.

100. This is an action by Brown, derivativer on behalf of Metrics, pursuant to Fla.
Stat. § 607.0740], against Andreatta for breach of fiduciary duty, for damages in excess of
$15,000, exclusive of interest, cost, and attorneys’ t`ees, and for injunctive and equitable relief.

lOl. Brown owns 50% of the shares of Metrics.

102. Andreatta owed and continues to owe a fiduciary duty and duty of loyalty to
Metrics because Andreatta is an officer, director, and shareholder of Metrics.

103. Andreatta breached her fiduciary duty and duty of loyalty to Metrics by, among
other things, (l) converting the assets of Metrics to her own personal bencftt, including by
stealing Metrics’ most valuable asset, the CareAssess Product, by assigning the Patent to herself,
and by stealing the related data files and technology; (2) deleting and destroying corporate
records; (3) and improperly and illegally filing Articles of Dissolution on behalf of Metrics with
the Florida Secretary of State.

104. Metrics has suffered damages as a result of the breach by Andreatta of her
fiduciary duty and duty of loyalty. Metrics has lost goodwill with clients and business partners,
has been deprived of its assets and property, and must correct unauthorized filings with the

Florida Secretary of State as a result of Andreatta’s purported dissolution of Metrics.

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WHEREFORE, Brown, derivatively on behalf of Metrics, demands judgment against
Andreatta for damages, intct'csts, costs, and an award of attorneys’ fees pursuant to Fla. Stat. §
607.07401, injunctive and/or equitable relief in the form of an order removing Andreatta as an
officer and director of Metrics, preventing Andreatta from having further involvement in the
management of Metrics, ordering the return of all assets and property transferred from Metrics to
Andreatta, ordering the return of the CareAssess Product content and access to its original state,
and revoking the improper dissolution of Metrics, as well as any such further relief as the Court
deems just and proper.

COUNT V - CONVEB_SION
Brown, derivatively on behalf of Metrics v. Andreatta

l05. Brown incorporates by reference his allegations in paragraphs 1-67 as set forth
herein.

106. 'l`his is an action by Brown, derivativer on behalf of Metrics, pursuant to Fla.
Stat. § 607.07401, against Andreatta for conversion, for damages in excess of $15,000, exclusive
of interest, cost, and attorneys’ fees, and for injunctive and equitable relief.

107. Brown owns 50% of the shares of Metrics.

108. Andreatta converted the assets and property of Metrics when she, among other
things, improperly deleted and destroyed Metrics’ files and records, made unauthorized
withdrawals from the account of Metrics, and transferred the Patent from Metrics to herself.

109. Metrics has suffered damages as a result of Andreatta’s conversion of its assets
and property for her own personal use.

WI-IEREFORE, Brown, derivatively on behalf of Metrics, demands judgment against

Andreatta for damages, interests, costs, and an award of attorneys’ fees pursuant to Fla. Stat. §

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607.07401, injunctive and/or equitable relief in the form of an order removing Andreatta as an
officer and director of Metrics, preventing Andreatta from having further involvement in the
management of Metrics, ordering the return of the CareAssess Product content and access to its
original state, and revoking the improper dissolution of Metrics, as well as any such further relief
as the Court deems just and proper.

Dated: August 3, 2018

/s/ Torr‘ C. Simmons

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VERIFICATION

I, Eric A. Brown, hereby certify that the facts set forth in the foregoing Verified

Complaint are true and correct. 53

Eric A. Brown

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Before me, the undersigned Notary Public, in and for said County and in said
State, personally appeared Eric A. Brown, who is personally known to me or who
produced §C bifle L"" as identitieation, and who, being duly sworn by me, deposes
and states that the Verified Complaint is true and correct to the best of his knowledge and

belief.

SWOR.N TO AND SUBSCRIBED before me, on this the z __day ofA ¢»t itc § 'f ,20l8

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My Commission Expiresf.`. ' jj . ' `

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